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KIRKPATRICK & ASSOCIATES, LLC

PAY ADVICE CERTIFICATE

J under stand that the Bankruptcy Code requires that I provide to Trustee and any party that makes
timely request, all pay advices that | have received from any employer during the 60 days preceding the
date of the filing of the petition. To be safe, I am providing 70 days of Pay Advices. Pay Advices
include stubs or other documentation reflecting paychecks, bonuses, commissions. or any monetary
consideration from an employer. I understand that the failure to fully comply with this requirement may
result in my case being dismissed without hearing at any point during my case and I will not get a
discharge.

T understand that my petition will be filed on: 8/3/2022

During the 60 days preceding the above date, I will have received pay advices from 1
employer(s) The employer(s) name(s). pay frequency, and date of the issuance of my next pay advice
are:

 

EMPLOYER FREQUENCY NEXT PAY DATE
United States Postal Service Bi-weekly 8/19/2022

 

 

 

 

 

 

 

 

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I certify that the only pay advices that I will have received during the 70 days preceding the date that my
petition will be filed are listed below:

 

 

 

 

 

 

 

 

 

 

 

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I certify that | understand the information provided above and the accuracy of the Pay Advice
information I have provided ec Kirkpatrick & ee LLC.

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SIGN DATE

 

 

SIGN DATE
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Employee ID:
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Finance Number:
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Pay Location:

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Pay Period:
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Pay Date:
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